
The Declaration in this case is the same as that in the case of Allison v. The Farmers’ Bank, with two exceptions:
1. The assignment of breaches is not followed by an allegation, that the Plaintiffs are injured by the breaches, but simply, that in consequence of the breaches, an action has accrued to the Plaintiffs to demand arid have the penalty of the bond. The Declaration, in stating the bond, the condition, and the breaches, states all that was necessary to entitle them to their action for the penalty. For, the Law implies damage from the breach; and it is not incumbent on a party to state what the Law necessarily implies.
2. After stating the right of the Plaintiffs to their action for the penalty of the bond, and the refusal of the Defendants to pay the penalty, it is not stated that that refusal was to the damage of the Plaintiffs, but that “therefore they bring suit,” &amp;c. I cannot think there is any thing in this objection. The action of debt lies to recover a sum of money in numero. In such actions, and particularly for the penalty of a bond, the damages are, in general, nominal; and none need be stated, unless the Plaintiff goes for damages beyond the penalty.
I think the Declaration is good; and the merits being precisely the same as in the case of Allison v. The Farmers’ Bank, the same Judgment should be entered as in that case.
Judgments reversed, &amp;c.*

The President, absent.

